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telephone
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                              ATTACHMENT A

              Description of Property to be Searched:

     The below mentioned cellular telephone was seized from Jamal

Johnson on October 20, 2020. The cellular telephone was seized in

the 180 Old Pemberton Road, Beckley, WV, by the Beckley/Raleigh

County Drug and Violent Crime Unit and is currently in the custody

of the Bureau of Alcohol, Tobacco and Firearms (ATF).



     1) Black in color I-Phone with red case.
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                                   ATTACHMENT B


                  DESCRIPTION OF PROPERTY TO BE SEIZED:

     Any property that constitutes evidence of the commission

of     or   the    conspiracy      to    commit   a     criminal   offense;   or

contraband,        the   fruits         of   crime,     or   things   otherwise

criminally possessed; or property designed or intended for

use or which is or has been used as the means of committing

a    criminal      offense;   to    include,      but    not   limited   to   the

below items:

     1. Cellular telephone, to include, but not limited to the

        following areas/items:

              a.     lists of customers and related identifying

              information;

              b.     types, amounts, and prices of narcotics

              possessed or trafficked as well as dates, places,

              and amounts of specific transactions;

              c.     any information related to sources of

              narcotics(including names, addresses, phone

              numbers, or any other identifying information);

              d.     any information recording the above-listed

              individual’s schedule or travel;

              e.     all bank records, checks, credit card bills,

              account information, and other financial records.
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          f.    Evidence of user attribution showing who

          used or owned the cellular telephone at the time

          the things described in this warrant were

          created, edited, or deleted, such as logs,

          phonebooks, saved usernames and passwords,

          documents, and browsing history;

          g.    In addition, permitting the search of the

          memory of such devices for:

                1.   all telephone numbers and direct connect

                numbers or identities assigned to the

                device, including the Electronic Serial

                Number (ESN) and the International Mobile

                Subscriber Identity number (IMSI) relating

                to the cellular telephones;

                2.   Call and direct connect history

                information, including dates, times, and

                duration of telephone calls, as well as the

                contact information related to those calls;

                3.   Telephone book or list of contacts; and

                4.   All photographs, video footage, text

                messages, and emails evidencing narcotics

                distribution and trafficking;

                5.   Text messages relating to narcotics

                possession, transactions, payment for such
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                transactions, or arrangements to meet for

                such transactions;

                6.     Email messages relating to narcotics

                possession, transactions, payment for such

                transactions, or arrangements to meet for

                such transactions;

                7.     Photographs and/or videos, in particular

                photographs and/or videos of co-

                conspirators, assets, and/or narcotics.

                8.     Access to social media available on the

                cellular telephones to search for the items

                listed in this attachment.

             h. Evidence of possession, acquisition or

             disposition of firearms.

 2. This     warrant    authorizes    the   search    and   forensic

    examination of cellular telephone and digital devices

    seized      for     the    purpose      of   identifying      the

    electronically       stored   information    on   the   cellular

    telephone and digital device that relate to one or

    more violations of 21 U.S.C §§ 841, that is possession

    with intent to distribute controlled substances.
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                                    via telephone
                                    xxxxxxxxxxxxxxxxxx
